                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                  CHARLOTTE DIVISION



 BROOKDALE SENIOR LIVING, INC,                  )
                                                )
         Plaintiff,                             ) Civil Action No: 3:20-CV-00293-CGM
                                                )
 v.                                             ) JUDGE GRAHAM C. MULLEN
                                                )
 GARY WEIR, as administrator of the Estate      )
 of Jean Howard                                 )
                                                )
         Defendant.                             )
                                                )


                                               ORDER

       On this date came on to be considered Defendant’s Unopposed Motion to Substitute Party.

The Court finds that the Motion is well-taken and should in all respect be GRANTED.

       IT IS THEREFORE ORDERED that Rachel E. Weir, Executrix of the Estate of Jean

Howard, shall be substituted as Defendant. The Clerk shall revise the docket to reflect the

substitution.

       IT IS FURTHER ORDERED that the stay is lifted.


                                     Signed: October 21, 2020




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